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Attomeysfor Plaintl`/Y, A. V. Land & Buila'ing Enlerprl'ses, LLC

IN THE UNITED STATES DISTRICT COURT FOR THE EASTERN
DISTRICT OF PENNSYLVANIA

 

A.V. LAND & BUILDING
ENTERPRISES, LLC, '
13912 Grambling Circle, Civil Action

Westrninster, California 92683 N0.:
Plaintiff,
v. _
JIGNESH PANDYA, Jury Trial Waived

8 Woodland Road,
Newtown, Pennsylvania 18940

Defendant.

 

COMPLAINT

l. Plaintiff, A.V. Land & Building Enterprises, LLC, (“A.V. Land” or “Plaintiff”),
is a limited liability company and citizen of the states of Connecticut and Rhode Island, With an
address at 13912 _Grambling Circle, Westrninster, California 92683.

2. Defendant and Guarantor, Jignesh Pandya, (“Defendant” or “Guarantor”), is an
adult individual and citizen of the Commonwealth of Pennsylvania residing at 8 Woodland Road,
Newtown, Pennsylvania 18940.

3. This action is a civil action in Which jurisdiction is founded upon diversity of

citizenship, given that: l) Plaintiff and Defendant are citizens of different States and 2) the

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amount in controversy exceeds $75,000, exclusive of interest and costs, as required by 28 U.S.C.
§ l332(a).

4. Ori or about September 1, 2011, Plaintiff and CT Pizza, LLC (“CT Pizza” or
“Lessee”), a Connecticut limited liability company, entered into a Lease Agreement (“Lease”)
wherein Plaintiff leased property located at 300 Silver Lane, East Hartford, Connecticut 06118
(“Leased Premises”), on Which to operate a Pizza Hut franchise restaurant A true and correct
copy of the Lease is attached hereto as Exhibit A.

5. Th'e Term of the Lease is September 2, 2011 through August 31, 2026.

6. Pursuant to Section 4 the Lease, CT Pizza agreed to pay a Base Rent, in equal

monthly installments, as follows:

 

 

 

 

 

 

 

 

 

Lease Period Annual Base Rent l\/Ionthly Rent
9/1/2011 ~ 8/31/2016 $60,000 $5,000
9/1/2016 - 8/31/2021 $66,000 $5,500
9/1/2021 - 8/31/2026 $72,000 $6,050

7. In addition to Base Rent, CT Pizza agreed to pay a “Percentage Rent,” equal to

six percent (6%) of gross sales each Lease year exceeding one million dollars. Ex. A, ll 4.1.

8. Pursuant to the Lease, any rent payment not made Within five (5) business days of
the due date constitutes a default and accumulates interest of eighteen percent (18%) or, if lower,
the highest amount permitted under Connecticut law. Ex. A, il lS.l(a).

9. Pursuant to the Lease, any sum to be paid by Lessee that is not paid within ten

(10) business days after the due date, other than rent, constitutes a default Ex. A, ‘H 15. l (b).

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10. Upon the occurrence of a default, Plaintiff is entitled to, among other
nonexclusive remedies, declare the entire rent for the balance of the Lease Term immediately
due and payable Ex. A, 11 15.2(0) - (d).

11. Moreover, Plaintiff is also entitled to recover attorneys’ fees in the event of any
litigation. Ex. A, 1111 15.3, 20.4.

12. On or about August 19, 2011, Defendant executed a Personal Guaranty
(“Guaranty”), personally guaranteeing the performance of the Lessee. A true and correct copy
of the Guaranty is attached hereto as Exhibit B.

COUNT I - BREACH OF GUARANTY AGREEMENT OF JIGNESH PANDYA

13. A.V. Land incorporates by reference paragraphs 1 to 12 above.

14. The Lessee defaulted under the terms of the Lease by, inter alia, failing to make
timely payments

15. As of h`ebruary 9, 2018, the Lessee is indebted in an amount not less than
$720,000, which represents sums due and owing under the Lease for rent, real estate taxes, and
maintenance fees. Additional charges and fees continue to accrue.

16. By` reason of the uncured payment defaults under the Lease, all amounts due to
Plaintiff under the Lease are forthwith due and payable by Defendant in accordance with the
Guaranty Agreement, and Defendant is liable to Plaintiff for all such amounts

17. On or about December 26, 2017, Plaintiff notified Defendant in writing of the
Lessee’s default,

18. As of the date of this Complaint, neither Lessee nor Defendant has cured the

default under the Lease.

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WHEREFORE, Plaintiff, A.V. Land & Building Enterprises, LLC, demands judgment

against Defendant, Jignesh Pandya, in an amount not less than $720,000, together with

reasonable attorney’s fees, costs,

appropriate

Dated: February 27, 2018

interest and all such other relief as this Court deems

ECKERT SEAMANS CHERIN & MELL()TT,
LLC

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